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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND


Chambers of                                                         U.S.Courthouse - Chambers 5D
Richard D. Bennett                                                  101 W. Lombard Street
United States District Judge                                        Baltimore, MD 21201
Northern Division                                                   Tel: 410-962-3190
                                                                    Fax: 410-962-3177
                                             July 15, 2019



TO COUNSEL OF RECORD

       RE:     USA v. Harold T. Martin, III
               Criminal No. RDB-17-069

Dear Counsel:

       This will confirm the Sentencing of the above-captioned Defendant has been

rescheduled. The Revised Schedule is as follows:

       Sentencing:               July 19, 2019 at 11:00 a.m.

      Although informal in format, this letter nonetheless constitutes an Order of Court and

the Clerk is directed to docket it as such.


                                     Sincerely,

                                       /s/

                                     Richard D. Bennett
                                     United States District Judge
RDB/klf
